Case 6:17-cv-00653-GAP-DCI Document 25 Filed 04/16/18 Page 1 of 1 PageID 75



                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

TONI MARLENE CARTER,                                   CASE NO.: 6:17-cv-00653-GAP-DCI

         Plaintiff,

vs.

PROG LEASING, LLC,

       Defendant.
__________________________________/

                                  NOTICE OF SETTLEMENT

        COMES NOW, Plaintiff, TONI MARLENE CARTER (“Plaintiff”), by and through

 undersigned counsel, and hereby files this Notice of Settlement, and states that Plaintiff and

 Defendant, PROG LEASING, LLC, have come to an amicable settlement agreement.

 Date: April 16, 2018
                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 16th day of April, 2018, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties either via transmission
  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for
  those counsel or parties who are not authorized to receive electronically Notices of Electronic
  Filing.

                                               /s/ Christopher W. Boss
                                               Christopher W. Boss, Esq.
                                               FL Bar No.: 13183
                                               Boss Law
                                               Service Email: CPservice@bosslegal.com
                                               9887 4th Street N., Suite 202
                                               St. Petersburg, FL 33702
                                               Phone: (727) 471-0039
                                               Fax: (727) 471-1206
                                               Counsel for Plaintiff



                                                  1
